Case 2:10-cv-08888-CJB-JCW Document 85344 Filed 04/20/11 Page 1of3

IN RE: OIL SPILL by “Deepwater Horizon”
DIRECT FILING SHORT FORM‘

SECTION: J

JUDGE CARL BARBIER

By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
al, No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundie”)
filed in MDL No. 2179 (10 md 2179).

! Middle Name/Maiden

MINH

: E-Mail Address

NEWROADS, LA
BUSINESS CLAIM

EXCSERIVER SEAFO

Last Name First Name

NGUYEN (QUANG

(235) 638-7511 (225) 454-5111
360 1/2 HOSPITAL RD

: Suffix

OD RESTAURANT

7076

Employer Nam

Hob Tite { Desorption SEAFOOD RESTAURANT
‘eeress 360 1/2 HOSPITAL RD
City / State f Zip

NEW RGADS, LA 70760
4668" of your Tax ID Number

eR Te

F Last 4 digits of your Social Security Number

USREN’G. KLITSAS

K[T SAS & VERCHER, P.C.

AS WESTCOTT STE STE 570

HOUSTGN, Tx 77007

713) 862-1365

Claim filed with BP?

YEs 7 NO

if yes, BP Claim No.:

Claim Type (Please check all that apply):

Damage or destruction to real or personal property
Eamings/Profit Loss

Personal Injury/Death

LJ

KU SAS@KV-LAW.COM

| Claim Filed with GCCF?; YES

No G

If yes, Claimant Identification No.:1175690

F

Fear of Future Injury and/or Medical Monitoring
Less of Subsistence use of Natural Resources
Removal and/or clean-up costs

Other.

+ This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888. While this Direct Filing Short Form is te be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10-2771 and Rec. Doc. 982 in MDL
2179}, the filing of this form in C.A. No. 10-8888 shall be deemed to be simultaneously filed in C.A. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

1

The filing of this Direct Filing Short Form shall aiso serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
Case 2:10-cv-08888-CJB-JCW Document 85344 Filed 04/20/11 Page 2 of 3

ee ee ee eee

Brief Description:

1. For eamings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For ciaims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type. include the type and location of fishing grounds at issue.

MR. NGUYEN OWNS A SEAFOOD RESTAURANT. HIS MENU RELIES HEAVILY UPON

FRESH SEAFOOD FROM THE GULF OF MEXICO. BOTH THE AVAILABILITY AND THE

DEMAND FOR FRESH SEAFOOD FROM THE GULF HAVE DECLINED AS A RESULT OF

THE DEEPWATER HORIZON INCIDENT. ADDITIONALLY, THE PRICE OF GULF SEAFOOD

HAS. DRAMATICALLY DECREASED COMPARED TO PREVIOUS YEARS. THEREFORE, HE

HAS SUFFERED ALOSS IN PROFITS/FARNINGS DUE TO THE SPU

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

N/A

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

NWA

2

The filing of this Direct Filing Short Form shall aiso serve in lieu of the requirement of 2 Plaintiff to file a Plaintiff Profile Form.

a
Case 2:10-cv-08888-CJB-JCW Document 85344 Filed 04/20/11 Page 3 of 3

Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1

oO 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering.

2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

oO 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who eam their iiving through the use of the Gulf of Mexico.

Cc] 4, Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

oO 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
8. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

oO 7 Owner, lessor, or lessee of real prapert y alleged ta be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

Oo 8. Hotel owner and operator, vacation rental owner and agent, or all those who eam their living from the tourism industry.
[1] 9. Bank, financial institution, or retail business that suffered losses as a result of the spill.
0 +0, Person who utilizes natural resources for subsistence.

CJ 11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle BS

oO 4. Boat captain or crew involved in the Vessels of Opportunity program.

(J 2. Worker involved in decontaminating vessels that came inte contact with oil and/or chemical dispersants.

oO 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were expesed to harmful chemicals,
odors and emissions during pest-explesion clean-up activities.

oO 4. Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.

oO 5. Resident who lives or works in close proximity to coastal waters.

[16 = Other:

Both BP and the Gulf Coast Claim s Facility (‘GCCF"} are hereby authorized to release to the Defend ants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as "Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11}, and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

ClaimanLorAtiomey Signature
LOREN G. KLITSAS

Print Name

Uldol |

Date

3

The filing of this Direct Filing Short Form shall aiso serve in lieu of the requirement of a Plainiiff to file a Plaintiff Profile Form.
